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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                      CRIMINAL NO. 1:16CR09-04
                                                    (Judge Keeley)


 DANIEL ROSS SIMS,

                    Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO. 79) AND SCHEDULING SENTENCING HEARING

       On April 1, 2016, the defendant, Daniel Ross Sims (“Sims”),

 appeared before United States Magistrate Judge Michael J. Aloi and

 moved for permission to enter a plea of guilty to Count Three of

 the Indictment. After Sims stated that he understood that the

 magistrate    judge   is     not    a    United   States   District   Judge,     he

 consented to tendering his plea before the magistrate judge.

 Previously,    this   Court        had   referred   the    guilty   plea   to   the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

       Based upon Sims’ statements during the plea hearing and the

 testimony     of   Special     Agent      John    Large,    Federal   Bureau     of

 Investigation, the magistrate judge found that Sims was competent

 to enter a plea, that the plea was freely and voluntarily given,
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 that he was aware of the nature of the charges against him and the

 consequences of his plea, and that a factual basis existed for the

 tendered plea. On April 1, 2016, the magistrate judge entered a

 Report and Recommendation Concerning Plea of Guilty in Felony Case

 (“R&R”) (dkt. no. 79) finding a factual basis for the plea and

 recommending that this Court accept Sims’ plea of guilty to Count

 Three of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Sims’ guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Three of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The Probation Officer shall undertake a presentence

 investigation of Sims and prepare a presentence report for the

 Court;

       2.    The Government and Sims are to provide their versions of

 the offense to the probation officer by May 2, 2016;

       3.    The presentence report is to be disclosed to Sims,

 defense counsel, and the United States on or before July 1, 2016;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before July 18, 2016;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before August 1, 2016; and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before August

 15, 2016.




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    FELONY CASE (DKT. NO.79) AND SCHEDULING SENTENCING HEARING

       The magistrate judge continued Sims on bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 24) entered on

 February 9, 2016.

       The   Court   will   conduct    the   sentencing   hearing   for   the

 defendant on Monday, August 22, 2016, at 10:00 A.M., at the

 Clarksburg, West Virginia, point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: April 18, 2016


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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